Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 1 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 2 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 3 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 4 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 5 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 6 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 7 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 8 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 9 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 10 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 11 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 12 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 13 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 14 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 15 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 16 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 17 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 18 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 19 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 20 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 21 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 22 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 23 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 24 of 25
Case 4:20-cv-02125 Document 157 Filed on 06/07/22 in TXSD Page 25 of 25
